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                                                  UNITED STATES DISTRICT COURT
                                               FOR THE EASTERN DISTRICT OF VIRGINIA
                                                        RICHMOND DIVISION


                  UNITED STATES OF AMERICA

                           V.
                                                                                   Case No. 3:19-cr-00130-MHL
                  OKELLO T. CHATRIE,

                            Defendant.



                                        SUPPLEMENTAL DECLARATION OF MARLO MCGRIFF

                           I, Marlo McGriff, respectfully submit this declaration in regard to the above-captioned

                 matter to supplement my prior declaration, filed on March 11, 2020. ECF No. 96-1. I make this

                 declaration based on my knowledge of the facts stated herein.

                           1.           I reviewed the testimony of Spencer Mclnvaille, Mr. Chatrie' s advisory witness,

                 ECF No. 81 ("Mclnvaille Testimony"), and the video exhibit Mr. Mclnvaille presented as

                 Exhibit 4 during the January 21, 2020 hearing as to Mr. Chatrie's Motion for Discovery

                 Regarding the Government's Use of Google's Sensorvault Data ("Mclnvaille Video").

                           2.           As explained in my prior declaration, enabling the Location History ("LH")

                  service requires a Google user to take multiple steps. ECF No. 96-1 at 2.

                            3.          One of those steps, as referenced at ECF No. 96-1 at Paragraph 9, is that the user

                  must opt in to LH in her account settings. LH is disabled in account settings by default, and LH

                  remains disabled unless and until the user enables it.

                            4.          Until recently, a user could enable LH in her account settings during account

                  creation, which can occur during device setup. An example of this is depicted in the Mclnvaille




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Video (at 2:50-3:17) and the Mcinvaille Testimony (at 50-52). During his testimony, Mr.

Mclnvaille did not enable LH during account creation. See Mcinvaille Testimony at 51-52, 53.

        5.     A user may also enable LH in her account settings through an app that has LH-

powered features, such as the Google Maps app. An example of this is partially depicted in the

 Mclnvaille Video (at 4:38-4:45) and the Mcinvaille Testimony (at 55-57). During his testimony,

 Mr. Mclnvaille opened the Google Maps app and was shown a screen stating "Get the most from

 Google Maps" with two choices: "YES, I'M IN" or "SKIP" as depicted in the last screen at the

 end of the Mcinvaille Video (at 4:45); see Mcinvaille Testimony at 56-57.

        6.      The Mclnvaille Video ended at that step, without depicting what would happen if

 the user tapped on "YES, I' M IN." Mclnvaille Video at 4:45 (stopping at the "Get the most out

 of Google Maps" screen).

        7.      By 201 7 at the latest, it was not possible for a user to enable LH solely by tapping

 on "YES, I'M IN" as depicted on the final screen in the Mclnvaille Video. Instead, a user who

 tapped on "YES, I'M IN" when prompted would be presented with a second opt-in screen. Only

 by opting in via that second screen could the user successfully enable LH for her account.

 Sensorvault rejects LH opt-ins from unsupported flows or devices. Accordingly, Sensorvault

 would have rejected any attempted opt-in through the manner described by Mr. Mclnvaille, and

 LH would not have been successfully enabled.

        I declare under penalty of perjury that the foregoing is true and correct to the best of my

 knowledge and belief.

        Executed this    l'-"\\-   day of   r"" 2020, in   .Sfl'N ,=..<.i'tw c.n l"u.




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